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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION



IMMERSION CORPORATION,
                                                             Case No. 2:17-CV-00572-JRG
                            Plaintiff,                         LEAD CASE

                v.                                           Case No. 2:18-cv-00055-JRG
SAMSUNG ELECTRONICS AMERICA, INC.;
SAMSUNG ELECTRONICS CO., LTD.                                JURY TRIAL DEMANDED
                            Defendants.


                            JOINT MOTION FOR CONTINUANCE


        Plaintiff Immersion Corporation and Defendants Samsung Electronics America, Inc. and

Samsung Electronics Co, Ltd. file this Joint Motion for Continuance respectfully requesting the

Court to continue the trial in this matter currently set for May 9, 2019, to a date later to be

determined by the Court.


        WHEREFORE, the Parties respectfully reset the Court to continue this matter and grant

any other such relief they are justly entitled to.




Dated: May 8, 2019                                   Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was filed electronically in

compliance with Local Rule CV-5(a). Therefore, this document was served on all counsel who

are deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to Fed.

R. Civ. P. 5(d) and Local Rule CV-5(d) and (e), all other counsel of record not deemed to have

consented to electronic service were served with a true and correct copy of the foregoing by email

on this the 8th day of May, 2019.



                                                            /s/ Melissa R. Smith
